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    Chat Filters   mHistory
                                                                       Messages                                          Attachments
                   Participant/Sender


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                                  Chung Eui-Suk


   PARTICIPANTS List:                             Chung Eui-Suk;


                          Chung Eui-Suk                                                                                                    8/9/2018 11:10:38 PM(UTC+0)

         Good. I heard about the Fortnite case from Jay. It was done by the Service team without my knowledge. I am looking into it now.




                                                                                                                                           EXHIBIT 8568

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